                                                                       Case 2:20-cv-02291-DOC-KES Document 316 Filed 05/26/21 Page 1 of 4 Page ID #:8138



                                                                                   1   SPERTUS, LANDES & UMHOFER, LLP
                                                                                       Matthew Donald Umhofer (SBN 206607)
                                                                                   2   Elizabeth A. Mitchell (SBN 251139)
                                                                                       617 W. 7th Street, Suite 200
                                                                                   3   Los Angeles, California 90017
                                                                                       Telephone: (213) 205-6520
                                                                                   4   Facsimile: (213) 205-6521
                                                                                       mumhofer@spertuslaw.com
                                                                                   5   emitchell@spertuslaw.com
                                                                                   6   Attorneys for Plaintiffs
                                                                                   7
                                                                                   8
                                                                                                              UNITED STATES DISTRICT COURT
                                                                                   9
                                                                                                            CENTRAL DISTRICT OF CALIFORNIA
                                                                                  10
                                                                                  11
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                                         LA ALLIANCE FOR HUMAN                CASE NO. 2:20-cv-02291
                                                                                  12     RIGHTS, an unincorporated
                                         1990 SOUTH BUNDY DR., SUITE 705




                                                                                         association, JOSEPH BURK,            NOTICE OF DEFAULT AND
                                             LOS ANGELES. CA 90025




                                                                                  13     HARRY TASHDJIAN, KARYN               APPLICATION FOR ENTRY
                                                                                         PINSKY, CHARLES MALOW,               DEFAULT JUDGMENT BY
                                                                                  14     CHARLES VAN SCOY, GEORGE             COURT
                                                                                         FREM, GARY WHITTER, and
                                                                                  15     LEANDRO SUAREZ, individuals,         Date:       June 7, 2021
                                                                                         Plaintiffs,                          Time:       8:30 am
                                                                                  16                                          Location:   Courtroom 9D
                                                                                                      Plaintiffs,
                                                                                  17
                                                                                               v.
                                                                                  18
                                                                                         CITY OF LOS ANGELES, a
                                                                                  19     municipal entity; COUNTY OF LOS
                                                                                         ANGELES, a municipal entity; and
                                                                                  20     DOES 1 through 200 inclusive,
                                                                                         Defendants.,
                                                                                  21
                                                                                  22                  Defendants.
                                                                                  23
                                                                                  24
                                                                                  25
                                                                                  26
                                                                                  27
                                                                                  28

                                                                                          NOTICE OF DEFAULT AND APPLICATION FOR ENTRY OF DEFAULT
                                                                                                                JUDGMENT
                                                                       Case 2:20-cv-02291-DOC-KES Document 316 Filed 05/26/21 Page 2 of 4 Page ID #:8139



                                                                                   1   TO THE COURT AND DEFENDANTS AND THEIR ATTORNEY OF RECORD:
                                                                                   2         PLEASE TAKE NOTICE THAT on June 7, 2021 at 8:30 a.m. or as soon
                                                                                   3   thereafter as this matter may be heard by the above-entitled Court, located at 411
                                                                                   4   West Fourth St., Santa Ana, CA 92701, plaintiff will present its application for a
                                                                                   5   default judgment against defendant.
                                                                                   6         At the time and place of hearing, plaintiff will present proof of the following
                                                                                   7   matters:
                                                                                   8         1.     Defendant, County of Los Angeles, is not a minor or incompetent
                                                                                   9   person or in military service or otherwise exempted under the Soldiers’ and Sailors’
                                                                                  10   Civil Relief Act of 1940. (See Declaration of Elizabeth A. Mitchell at ¶ 8.)
                                                                                  11         2.     Notice of this application has been served as required by Rule 55(b)(2).
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                                  12         3.     Notice of this application for default judgment by court has been
                                         1990 SOUTH BUNDY DR., SUITE 705
                                             LOS ANGELES. CA 90025




                                                                                  13   served on said defendant on May 26, 2021, by email as required by Local Rule 55-1
                                                                                  14   (Declaration of Elizabeth Mitchell ¶ 9.)
                                                                                  15         4.     The above-named Defendant has failed to plead or otherwise respond
                                                                                  16   to the complaint. (Id. at ¶ 5.)
                                                                                  17         This Application is based on this Notice, the attached declaration of Elizabeth
                                                                                  18   A. Mitchell, and the pleadings, files and other matters that may be presented at the
                                                                                  19   hearing.
                                                                                  20         DATED: May 26, 2021
                                                                                  21
                                                                                  22                                     Respectfully submitted,
                                                                                  23
                                                                                  24                                     /s/
                                                                                                                         SPERTUS, LANDES & UMHOFER, LLP
                                                                                  25                                     Matthew Donald Umhofer
                                                                                                                         Elizabeth A. Mitchell
                                                                                  26
                                                                                                                         Attorneys for Plaintiffs
                                                                                  27
                                                                                  28
                                                                                                                     1
                                                                                          NOTICE OF DEFAULT AND APPLICATION FOR ENTRY OF DEFAULT
                                                                                                                JUDGMENT
                                                                       Case 2:20-cv-02291-DOC-KES Document 316 Filed 05/26/21 Page 3 of 4 Page ID #:8140



                                                                                   1                 DECLARATION OF ELIZABETH A. MITCHELL
                                                                                   2   I, Elizabeth A. Mitchell, state and declare as follows:
                                                                                   3         1.     I am an attorney duly licensed to practice law in the State of California
                                                                                   4   and admitted to practice before this court. I make this declaration of my own
                                                                                   5   personal knowledge and could and would so testify if called.
                                                                                   6         2.     The Court issued a summons on March 10, 2020. (ECF No. 4,
                                                                                   7   Summons.)
                                                                                   8         3.     Defendant County of Los Angeles filed a motion to dismiss under Fed.
                                                                                   9   R. Civ Proc. 12(b)(6) March 29, 2021 (ECF No. 256).
                                                                                  10         4.     On May 11, 2021, the Court denied Defendant County of Los Angeles’
                                                                                  11   Motion to Dismiss. (ECF No. 300, Order Denying Motion to Dismiss.)
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                                  12         5.     Under Rule 12(a)(4), Defendant County of Los Angeles was required
                                         1990 SOUTH BUNDY DR., SUITE 705
                                             LOS ANGELES. CA 90025




                                                                                  13   to plead or otherwise respond to the complaint by May 25, 2021.
                                                                                  14         6.     Defendant County of Los Angeles has failed to serve or file a pleading
                                                                                  15   or otherwise respond to the complaint. The applicable time limit for responding to
                                                                                  16   the complaint has expired.
                                                                                  17         7.     Defendant County of Los Angeles is not a minor or an incompetent
                                                                                  18   person.
                                                                                  19         8.     Defendant County of Los Angeles is not currently in the military
                                                                                  20   service, and therefore the Servicemembers Civil Relief Act does not apply.
                                                                                  21         9.     I served a copy of this application for default judgment by email to
                                                                                  22   Emily Rodriguez-Sanchirico (esanchirico@millerbardoness.com), Mira Hashmall
                                                                                  23   (mhashmall@Millerbarondess.com) , and Skip Miller
                                                                                  24   (smiller@millerbarondess.com) on March 26, 2021.
                                                                                  25
                                                                                  26
                                                                                  27
                                                                                  28
                                                                                                                     1
                                                                                          NOTICE OF DEFAULT AND APPLICATION FOR ENTRY OF DEFAULT
                                                                                                                JUDGMENT
                                                                       Case 2:20-cv-02291-DOC-KES Document 316 Filed 05/26/21 Page 4 of 4 Page ID #:8141



                                                                                   1
                                                                                   2         I declare under penalty of perjury under the laws of the United States of
                                                                                   3   America that the foregoing is true and correct, and that this Declaration was
                                                                                   4   executed this 26th day of May 2021, at Los Angeles, California.
                                                                                   5
                                                                                   6   DATE: May 26, 2021                           _____________________________
                                                                                   7                                                Elizabeth A. Mitchell
                                                                                   8
                                                                                   9
                                                                                  10
                                                                                  11
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                                  12
                                         1990 SOUTH BUNDY DR., SUITE 705
                                             LOS ANGELES. CA 90025




                                                                                  13
                                                                                  14
                                                                                  15
                                                                                  16
                                                                                  17
                                                                                  18
                                                                                  19
                                                                                  20
                                                                                  21
                                                                                  22
                                                                                  23
                                                                                  24
                                                                                  25
                                                                                  26
                                                                                  27
                                                                                  28
                                                                                                                     2
                                                                                          NOTICE OF DEFAULT AND APPLICATION FOR ENTRY OF DEFAULT
                                                                                                                JUDGMENT
